Case 2:10-md-02179-CJB-DPC Document 5455-4 Filed 01/26/12 Page1of1

Daniel Becnel

From: Steve Herman [SHERMAN@hhkce.com]
Sent: Tuesday, May 17, 2011 4:34 PM

To: Philip Garrett

Cc: James Roy; Daniel Becnel

Subject: BP Of - Law Offices of Daniel E. Becnel, Jr.

Dear Mr. Garrrett,

Please be advised that neither Danny Becnel nor any member of his firm has been authorized to perform, ner has in faci
nerformed, any common benefit work in the Deepwater Horizon MOL, nor has the Law Firm of Danny Becnel made any
commen benefit litigation cost or expense contributions to the Deepwater Horizon MDL.

Respectfully submitted,
Plaintiffs’ Liaison Counsel

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